                                           Case 3:15-cv-05557-RS Document 78 Filed 11/18/16 Page 1 of 3




                                   1

                                   2

                                   3

                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        FAITH BAUTISTA,
                                   7                                                         Case No. 15-cv-05557-RS
                                                       Plaintiff,
                                   8
                                                v.                                           ORDER GRANTING VALERO’S
                                   9                                                         MOTION TO DISMISS
                                        VALERO MARKETING AND SUPPLY
                                  10    COMPANY,
                                  11                   Defendant.

                                  12
Northern District of California
 United States District Court




                                  13                                          I. INTRODUCTION
                                  14          Defendant Valero Marketing and Supply Company (“Valero”) moves to dismiss one claim
                                  15   in plaintiff Faith Bautista’s Second Amended Complaint. Pursuant to Civil Local Rule 7-1(b), the
                                  16   motion is suitable for disposition without oral argument, and the hearing set for December 8,
                                  17   2016, is vacated. For the reasons that follow, Valero’s motion is granted.
                                  18                                            II. DISCUSSION
                                  19          Valero operates a network of gas station franchises. These stations use “split pricing” to
                                  20   communicate the cost of gas; customers paying cash are charged one price, while customers
                                  21   paying by credit card are charged a higher price. Since July 2011, Bautista has purchased gas
                                  22   from a Valero station in Daly City, California. Bautista pays for gas with a debit card, and alleges
                                  23   Valero deceived her by charging the credit card price to debit card purchases, without indicating
                                  24   the credit card price applied to such purchases. As a result, she filed this putative class action.
                                  25          Bautista’s First Amended Complaint brought claims under the Consumer Legal Remedies
                                  26   Act (“CLRA”), Cal. Civ. Code § 1750, et seq., False Advertising Law (“FAL”), Cal. Bus. & Prof.
                                  27

                                  28
                                           Case 3:15-cv-05557-RS Document 78 Filed 11/18/16 Page 2 of 3




                                   1   Code § 17500, et seq., and Unfair Competition Law (“UCL”), § 17200, et seq.1 The UCL claim

                                   2   was predicated on Valero’s alleged CLRA and FAL violations, as well as an alleged violation of

                                   3   California Financial Code section 13081(b). Valero moved to dismiss all three claims, arguing

                                   4   Bautista failed to plead sufficient facts showing Valero had control over the allegedly unlawful

                                   5   pricing practice. Valero also argued section 13081(b) only applied to transactions requiring entry

                                   6   of a personal identification number (“PIN”), while Bautista only claimed to have entered her ZIP

                                   7   code when purchasing gas at Valero. Valero’s motion was granted for both reasons,2 and Bautista

                                   8   was given leave to amend her complaint.

                                   9          Bautista filed a Second Amended Complaint, reasserting the same three claims, and Valero

                                  10   filed this motion to dismiss. Valero’s motion challenges only Bautista’s UCL claim, and only to

                                  11   the extent it relies on an alleged section 13081(b) violation. Valero’s motion rests on Bautista’s

                                  12   continuing failure to allege that any debit card purchases at Valero required PIN entry.3 Indeed,
Northern District of California
 United States District Court




                                  13   the Second Amended Complaint admits Bautista never entered a PIN in connection with a debit

                                  14   card purchase at Valero, but instead raises the new legal argument that section 13081(b) is not

                                  15   limited to debit card transactions requiring PIN entry. This argument should have been raised in

                                  16   response to Valero’s first motion to dismiss, but it was not. Bautista’s response to Valero’s first

                                  17   motion was altogether silent on the reach of section 13081(b). Through this silence, Bautista

                                  18
                                       1
                                  19     The First Amended Complaint also brought a claim for accounting. Bautista abandoned the
                                       claim in response to Valero’s motion to dismiss that complaint.
                                  20   2
                                         The order granting Valero’s motion did not conclusively hold that Bautista’s CLRA claim
                                  21   required a showing Valero had control over the allegedly unlawful pricing practice. Instead, the
                                       order put off resolution of the issue because it would become moot if an amended complaint
                                  22   sufficiently alleged such control ― an allegation unquestionably necessary to sustain Bautista’s
                                       FAL and UCL claims. Valero does not dispute that the Second Amended Complaint sufficiently
                                  23   alleges such control. As such, the issue is now moot and need not be resolved.
                                       3
                                  24     Bizarrely, Bautista argues “Valero’s . . . devices do require a PIN for debit card authentication
                                       and . . . Valero unilaterally elects to also process debit card payments with non-PIN technology in
                                  25   a futile attempt to circumvent the statute’s . . . requirements.” P.’s Mem. in Opp’n at 7. This
                                       argument does not succeed. Either Valero requires PIN entry or it does not. The Second
                                  26   Amended Complaint makes clear Bautista made debit card purchases without PIN entry. Thus,
                                       her purchases did not require PIN entry, and do not fall within the purview of section 13081(b) if
                                  27   it applies only where a transaction requires PIN entry.

                                  28                                                             ORDER GRANTING VALERO’S MOTION TO DISMISS
                                                                                                                CASE NO. 15-cv-05557-RS
                                                                                         2
                                           Case 3:15-cv-05557-RS Document 78 Filed 11/18/16 Page 3 of 3




                                   1   waived the right subsequently to argue section 13081(b) applies to transactions not requiring PIN

                                   2   entry.4 See Farnham v. Windle, 918 F.2d 47, 51 (7th Cir. 1990) (“But [plaintiff] did not take

                                   3   advantage of his opportunity to brief these additional theories to the district court in his

                                   4   memorandum in opposition to [defendant’s] motion to dismiss, and his failure to do so results in

                                   5   waiver.”). Thus, Bautista’s Second Amended Complaint is deficient in the same manner as her

                                   6   first: It fails to allege any of her debit card purchases at Valero required PIN entry. Valero’s

                                   7   motion is therefore granted.

                                   8                                           III. CONCLUSION

                                   9          Valero’s motion to dismiss is granted, and to the extent Bautista’s UCL claim is predicated

                                  10   upon Valero’s alleged section 13081(b) violation, it is dismissed with prejudice.

                                  11

                                  12   IT IS SO ORDERED.
Northern District of California
 United States District Court




                                  13

                                  14   Dated: November 18, 2016

                                  15                                                     ______________________________________
                                                                                         RICHARD SEEBORG
                                  16                                                     United States District Judge
                                  17

                                  18
                                  19

                                  20

                                  21

                                  22   4
                                         In rare circumstances, it is appropriate for a litigant to seek leave to file a motion for
                                  23   reconsideration of a prior order in order to raise a new legal argument. See Civ. Local R. 7-9.
                                       Leave to file a motion for reconsideration of the prior order would not be appropriate in this
                                  24   instance, because the party seeking leave “must specifically show reasonable diligence in bringing
                                       the motion” for leave. Civ. Local R. 7-9(b). Bautista cannot make such a showing. She
                                  25   inexplicably failed to raise any argument about the reach of section 13081(b) in her response to
                                       Valero’s first motion to dismiss, which was granted on July 21, 2016. Raising a new legal
                                  26   argument in the Second Amended Complaint, filed two months later on September 23, 2016, does
                                       not constitute “reasonable diligence,” nor would now filing a motion for leave to file a motion for
                                  27   reconsideration.

                                  28                                                               ORDER GRANTING VALERO’S MOTION TO DISMISS
                                                                                                                  CASE NO. 15-cv-05557-RS
                                                                                          3
